           Case 1:16-cr-00656-GHW Document 855 Filed 01/11/21 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY VIDEO OR
                                                                                TELE CONFERENCE
                             -against-
                                                                                 1:16-CR-00656-GHW-17


GREGORY HERNANDEZ,
                                                 Defendant(s).
-----------------------------------------------------------------X

Defendant Gregory Hernandez hereby voluntarily consents to participate in the following
proceeding via X videoconferencing or ___ teleconferencing:

___      Initial Appearance Before a Judicial Officer

___      Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Bail/Detention Hearing

 X       Conference Before a Judicial Officer



                    for Mr. Hernandez, with consent
_______________________________                  _________________________________
Defendant’s Signature                            Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Gregory Hernandez                                                    Dawn M. Cardi
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

January 11, 20201                                                    _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
